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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 VICTORIA CHARITY WHITE,

         Plaintiff,
                                                         Case No. 24-cv-00018-CJN
        v.

 JASON BAGSHAW, et al.,

         Defendants.


       DEFENDANT JASON BAGSHAW’S MOTION FOR PARTIAL DISMISSAL

        Commander Jason Bagshaw, HSB/Special Operations, Metropolitan Police Department

(Commander Bagshaw), sued in his individual and official capacities, moves for an order

dismissing Counts I and II with prejudice, as to the Fourteenth Amendment aspect of those

counts, because the Fourteenth Amendment does not apply to the District of Columbia (the

District) or its employees.

        Commander Bagshaw also moves for an order dismissing Counts I and II with prejudice,

as to the official capacity claims against him because the District is the proper party in interest.

Plaintiff failed to state a claim for municipal liability for a constitutional violation against the

District. The gravamen of the operative complaint is not that a District custom, policy, practice,

or deliberate indifference violated the Constitution. It is that Commander Bagshaw’s purported

use of “excessive and deadly force” during one, unique incident on January 6, 2021, when

defending against the violent insurrection at the United States Capitol, allegedly violated the

District policy under the MPD Use of Force Framework in an unconstitutional manner.

        This motion should be granted for the reasons explained in the accompanying

memorandum of points and authorities. A proposed order is attached.
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       This motion to dismiss does not seek dismissal of Counts I or II, as to the Fourth

Amendment aspects of those counts against Commander Bagshaw in his individual capacity. A

motion to stay the responsive deadline pending the outcome of this motion to dismiss is filed

concurrently.

Date: April 22, 2024                 Respectfully submitted,
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 VICTORIA CHARITY WHITE,

         Plaintiff,
                                                        Case No. 24-cv-00018-CJN
       v.

 JASON BAGSHAW, et al.,

         Defendants.


         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
       DEFENDANT JASON BAGSHAW’S MOTION FOR PARTIAL DISMISSAL

                                         INTRODUCTION

       Commander Jason Bagshaw, HSB/Special Operations, Metropolitan Police Department

(Commander Bagshaw), sued in his individual and official capacity, moves for dismissal with

prejudice of portions of Plaintiff’s “First Amended Complaint for Violation of Civil Rights Use

of Excessive and deadly Force” [6] (FAC) under Fed. R. Civ. P. 12(b)(6). Plaintiff brings two

claims against Commander Bagshaw under 42 U.S.C. § 1983: Violation of Fourth and

Fourteenth Amendment Rights (Count I), and Supervisor Responsibility for Violations of Fourth

and Fourteenth Amendments (Count II).

       Commander Bagshaw requests dismissal of Counts I and II with prejudice, as to the

Fourteenth Amendment aspect of those counts, because the Fourteenth Amendment does not

apply to the District of Columbia (the District) or its employees in their official or individual

capacities. And Commander Bagshaw seeks dismissal of Counts I and II with prejudice, as to

the official capacity claims because the District is the proper party in interest in an official

capacity claim. Plaintiff must therefore state a claim for municipal liability against the District


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for a constitutional violation, which she has not done here. The gravamen of the FAC is not that

a District custom, policy, practice, or deliberate indifference caused a Fourth Amendment

violation. It is that Commander Bagshaw’s purported use of “excessive and deadly force” on

January 6, 2021, during a single, unique incident and while defending against the violent

insurrection at the United States Capitol, allegedly violated District policy under the “MPD Use

of Force Framework” in an unconstitutional manner. That type of single-incident allegation does

not state a claim for municipal liability.

                                             FACTS

       On or about January 6, 2021, Plaintiff travelled from Minnesota to go to the Capitol

Grounds. FAC ¶¶ 11, 14. The Capitol was breached around 1:30 pm, and Members had to be

taken to safe quarters. Id. ¶ 20. Around 4:00 pm, Plaintiff was “pushed by the crowd into the

nearby Lower West Terrace Tunnel entrance to the Capitol building.” Id. ¶¶ 17, 20. Plaintiff

claims that in the tunnel, “she was severely beaten . . . with a metal baton approximately 35 times

and punched in the face five times by Defendants Jason Bagshaw and Neil McAllister….” Id. ¶

1. Plaintiff was then taken to the back of the tunnel, handcuffed, and taken to a prisoner

processing area. Id. ¶¶ 22, 24. After signing paperwork, she was allowed to leave without being

formally arrested that day. Id. ¶ 25.

       On April 8, 2021, Plaintiff was arrested. Id. ¶ 44. On September 8, 2021, Plaintiff was

charged with Civil Disorder and Aiding and Abetting, in violation of 18 U.S.C. § 231(a)(3);

Entering and Remaining in a Restricted Building or Grounds, in violation of 18 U.S.C. §

1752(a)(1); Disorderly and Disruptive Conduct in a Restricted Buildings or Grounds, in violation

of 18 U.S.C. § 1752(a)(2); and Disorderly Conduct in a Capitol Building or Grounds, in violation

40 U.S.C. § 5104(e)(2)(D). Id. ¶ 46. Plaintiff pled guilty to one felony count of Civil Disorder



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and was sentenced to eight days to be served on four consecutive weekends in BOP custody,

three months home detention, and two years on probation. Id. ¶¶47–48.

                                       LEGAL STANDARD

       The standard for a motion to dismiss for failure to state a claim under Fed. R. Civ. P.

12(b)(6) is that a plaintiff’s complaint must contain “a short and plain statement of the claim

showing that the pleader is entitled to relief.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007) (internal quotation omitted). “[D]etailed factual allegations” are unnecessary to survive a

motion to dismiss. Id. Although a complaint “must contain sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

(quoting Twombly, 550 U.S. at 570). Upon review, a court must “accept as true all of the factual

allegations contained in the complaint.” Atherton v. District of Columbia, 567 F.3d 672, 681

(D.C. Cir. 2009). But it need not adopt “inferences that are unsupported by the facts set out in

the complaint.” Bowe-Connor v. Shinseki, 845 F. Supp. 2d 77, 84 (D.D.C. 2012).

                                            ARGUMENT

  I.   Plaintiff Cannot Pursue Relief Under the Fourteenth Amendment.

       The Due Process Clause of the Fourteenth Amendment reads, in pertinent part: “No State

shall… deprive any person of life, liberty, or property without due process of law…” U.S.

CONST. amend. XIV. By its terms, the Fourteenth Amendment applies only to the States; it does

not apply to the District or its employees. Williams v. District of Columbia, 174 F. Supp. 3d 410,

413 (D.D.C. 2016) (Fourteenth Amendment applies only to states and does not apply to District

of Columbia); see also Bolling v. Sharpe, 347 U.S. 497, 498 (1954) (holding that the Fourteenth

Amendment does not apply to the District); Powers-Bunce v. District of Columbia, 479 F. Supp.




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2d 146, 153 (D.D.C. 2007) (holding that the Fourteenth Amendment is inapplicable to District

employees).

        This is true as to Commander Bagshaw in both his individual and official capacities. In

Smith v. District of Columbia, 149 F. Supp. 3d 128, 129, 133 (D.D.C. 2015), the plaintiff sued

Warden Smith, a District employee, in both his individual and official capacity on § 1983 claims

based on the Fifth and Fourteenth Amendments. The court dismissed Warden Smith from the

case as to the Fourteenth Amendment claims, finding that “. . . to the extent that plaintiff did not

concede this issue, dismissal of the Fourteenth Amendment aspect of his section 1983 claim is

warranted, because ‘the Fourteenth Amendment does not apply to the District of Columbia or its

officials/employees.’” Id. at 133 (citing Robinson v. District of Columbia, 736 F.Supp.2d 254,

260 (D.D.C. 2010) (citing Bolling, 347 U.S. at 499)).

        Likewise, in this case, Plaintiff’s § 1983 claims against Commander Bagshaw, in his

individual and official capacity as to Count I and Count II, should be dismissed with prejudice as

to the Fourteenth Amendment aspect of those claims.

 II.    Plaintiff’s Official Capacity Claims Fail.

        The official capacity claims presented in the FAC should be dismissed with prejudice.

First, the District is the real party in interest for those claims, so that relief requires the same

pleading standards a plaintiff must meet to impose liability against the District. Second, Plaintiff

fails to present factual allegations supporting liability against the District for a constitutional

violation. As a result, her request for official capacity liability fails as a matter of law. These

arguments are addressed in turn below.

        A.      The District is the Real Party in Interest.




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        Plaintiff must meet the pleading standards for municipal liability to pursue official

capacity claims because the District is the real party in interest. Suits brought against individuals

in their official capacities “generally represent only another way of pleading an action against an

entity of which an officer is an agent.” Kentucky v. Graham, 473 U.S. 159, 165 (1985) (quoting

Monell v. New York City Dep’t of Social Servs., 436 U.S. 658, 690 n. 55 (1978)). An official

capacity suit “is not a suit against the official personally, for the real party in interest is the

entity.” Id. This Circuit has recognized that “[a] section 1983 suit for damages against

municipal officials in their official capacities is ... equivalent to a suit against the municipality

itself.” Atchinson v. District of Columbia, 73 F.3d 418, 424 (D.C. Cir. 1996).

        Consequently, Plaintiff’s official capacity claims against Commander Bagshaw are, in

actuality, claims against the District. “‘Based upon the understanding that it is duplicative to

name both a government entity and the entity’s employees in their official capacity[,]’ courts

routinely dismiss claims against the officials to conserve judicial resources when the entity itself

is also sued.” Trimble v. District of Columbia, 779 F. Supp. 2d 54, 58 (D.D.C. 2011) (citing

Robinson v. District of Columbia, 403 F.Supp.2d 39, 49 (D.D.C.2005)); accord Grissom v.

District of Columbia, 853 F. Supp. 2d 118, 124–25 (D.D.C. 2012) (“The Court will thus dismiss

Grissom’s § 1983 claims against Officer Sharpe in his official capacity as redundant to her claim

against the District.”).

        The distinction here, as opposed to in Trimble where the District was a defendant, is that

Plaintiff opted to exclude the District as a named defendant. In this circumstance, where there is

no redundancy of named defendants, the reasoning in Coley v. Bowser, No. CV 20-2182 (CKK),

2021 WL 1578295, at *1 (D.D.C. Apr. 22, 2021), is instructive.




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        In Coley, the plaintiff alleged five counts against the moving defendants, District

employees, in both their official and individual capacities. Id. at *4. Counts I and II rested on

constitutional theories of liability under 42 U.S.C. § 1983 and alleged violations of Plaintiff’s

Fourth, Fifth, and Fourteenth Amendment rights. Id. Even though the District was not a party,

the court treated “each of Plaintiff’s official capacity claims in Counts I through V, as municipal

claims against the District of Columbia.” Id. at *8. The court noted:

                Plaintiff does not name the District of Columbia as a defendant in
                this law suit, but makes a point to emphasize that each Defendant
                has ‘been named in their personal capacities as well as their official
                capacities.’ Pl.’s Opp’n at 25. Plaintiff even argues that because
                ‘the District of Columbia is not a named defendant ... dismissal of
                [his] official capacity claims against the Defendants should be
                denied.’ Id. The utility of Plaintiff’s argument on this point is
                unclear. As explained throughout this Memorandum Opinion,
                Plaintiff’s ‘official capacity’ claims are claims against the District
                of Columbia, and the Court will treat them as such ….

Id. at n. 3.

        Here, similarly, Plaintiff’s Fourth Amendment claims against Commander Bagshaw, in

his official capacity, are claims against the District as the real party in interest. Atchinson, 73

F.3d at 424. Accordingly, for all official capacity claims in this lawsuit against Commander

Bagshaw, Plaintiff must meet the pleading standard for municipal liability. Coley, 2021 WL

1578295, at *8. She has not done so.

        B.      Plaintiff Fails to State a Claim for Municipal Liability.

        It is black letter law that municipalities are not vicariously liable through respondeat

superior for the constitutional torts of their employees. Monell, 436 U.S. at 691–95. Instead,

“municipalities are liable for their agents’ constitutional torts only if the agents acted pursuant to

municipal policy or custom.” Warren v. District of Columbia, 353 F.3d 36, 38 (D.C. Cir. 2004).

        Thus, to hold the District liable for a constitutional violation, a plaintiff must allege facts

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establishing either (1) “the explicit setting of a policy by the government that violates the

Constitution,” (2) “[t]he action of a policy maker with the government,” (3) “the adoption

through a knowing failure to act by a policy maker of actions by his subordinates that are so

consistent that they have become custom,” or (4) “the failure of the government to respond to a

need (for example, training of employees) in such a manner as to show deliberate indifference to

the risk that not addressing the need will result in constitutional violations.” Singletary v.

District of Columbia, 766 F.3d 66, 73 (D.C. Cir. 2014); Baker v. District of Columbia, 326 F.3d

1302, 1306 (D.C. Cir. 2003).

       Plaintiff does not allege the elements set forth in Singletary. Instead, the FAC is focused

on the events of January 6, 2021. See FAC ¶¶ 10–31. To that end, Plaintiff alleges Commander

Bagshaw “clearly violated” the MPD Use of Force rule, MPD GO-RAR-901.07 (Use of Force).

Id. ¶¶ 34–37, 41. The gravamen of the FAC is therefore not that a District policy caused the

Constitutional violation. It is instead that Commander Bagshaw’s purported failure to act in

accordance with District policy when defending against the violent insurrection at the United

States Capitol caused him to violate Plaintiff’s constitutional rights that day, which Plaintiff

alleges violated the “MPD Use of Force Framework.” Id. ¶ 34.

       There are no allegations that the MPD Use of Force Framework violates the Constitution.

It does not. There are no allegations concerning any policy maker within the District

government. There are no allegations about the District adopting or knowingly failing to act

through a District policy maker because actions by his subordinates were so consistent that they

had become custom. Nor is there any allegation of any failure by the District government to

respond to a need that shows deliberate indifference to the risk of constitutional violations with

its MPD Use of Force Framework. Plaintiff’s theory of Fourth Amendment liability as to



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Commander Bagshaw is that he purportedly ignored the various standards governing use of

deadly force and, on this one occasion, in this unique circumstance, violated this one individual’s

Constitutional rights. Id. ¶¶ 34–41. That type of single-incident pleading does not state a claim

for municipal liability under Monell and its progeny, and the official capacity claims should be

dismissed.

                                        CONCLUSION
       For the reasons stated above, this Court should dismiss, with prejudice, Plaintiff’s

Fourteenth Amendment claims against Commander Bagshaw in his official and individual

capacity, and Plaintiff’s Fourth Amendment claims against Commander Bagshaw in his official

capacity.

Date: April 22, 2024                  Respectfully submitted,
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